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Entered: February 13, 2025
Signed: February 13, 2025

SO ORDERED




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                            at Greenbelt
                              In re: Case No.: 20−20357 − MCR             Chapter: 7
In Re: Debtor (names used by the debtor in the last 8 years, including married, maiden, trade, and address):

   Shane Serrant
   2902 Westbrook Lane
   Bowie, MD 20721
   Social Security No.: xxx−xx−5571
   Employer's Tax I.D. No.:


                                                FINAL DECREE

Petition for Relief under Chapter 7 of Title 11, U.S. Code was filed by or against the above−named debtor on
11/25/20.

The estate of the above−named debtor has been fully administered.

ORDERED, that Janet M. Nesse is discharged as trustee of the estate of the above−named debtor; and the Chapter 7
case of the above named debtor is closed.



                                                    End of Order
fnldec − MarkRybczynski
